     Case 2:15-cv-13338-AJT-MJH ECF No. 1 filed 09/22/15            PageID.1     Page 1 of 9



                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MICHIGAN

MICHAEL MILES,                                  )
                                                )
                Plaintiff,                      )   Case No.
v.                                              )
                                                )
SYBRA, INC., a Michigan Corporation,            )   Judge:
                                                )
DBA                                             )
                                                )
“Arby’s”                                        )
                                                )
                                                )
                Defendant.                      )
                                                )
                                                )
                                                )
                                                )


                 COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF

         Plaintiff, MICHAEL MILES, individually, by and through the undersigned counsel,

Owen B. Dunn, Jr. and Matthew B. Bryant, Co-Counsel for Plaintiff, hereby files this Complaint

against Defendant, SYBRA, INC., a Michigan Corporation for Profit, DBA Arby’s, for

injunctive relief, damages, attorneys’ fees, litigation expenses, and costs pursuant to the

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”), alleging as follows:

                                   JURISDICTION AND VENUE

1.       This action is brought by the Plaintiff, Michael Miles, individually, and on behalf of

         individuals similarly situated, pursuant to the enforcement provision of the American

         with Disabilities Act of 1990 (the “ADA”), 42 U.S.C. § 12188(a), against the Defendant

         as delineated herein.

2.       The Court has jurisdiction pursuant to the following statutes: 28 U.S.C. § 1331, which
     Case 2:15-cv-13338-AJT-MJH ECF No. 1 filed 09/22/15                 PageID.2     Page 2 of 9



         governs actions that arise from the Defendant’s violations of Title III of the ADA, 42

         U.S.C. § 12181, et seq.; 28 U.S.C. § 1331, which gives the District Courts original

         jurisdiction over civil actions arising under the Constitution, laws, or treaties of the

         United States; 28 U.S.C. § 1343(3) and (4), which gives District Courts jurisdiction over

         actions to secure civil rights extended by the United States government; and 28 U.S.C. §

         1367, as Count II utilizes the same core of operative facts as Count I, and is therefore

         subject to supplemental jurisdiction.

3.       Venue is proper in the Eastern District of Michigan as venue lies in the judicial district of

         the property situs. The Defendant’s property and operations complained of by Plaintiff

         are located in this judicial district, where the business of public accommodation is

         conducted, including the acts complained of herein.

                                              PARTIES

4.       Plaintiff, MICHAEL MILES (“Plaintiff” or “Mr. Miles”), is a Hancock County, Ohio

         resident, is sui juris, and qualifies as an individual with disability as defined by the ADA,

         42 U.S.C. § 12102(2), 28 C.F.R. 36.104.

5.       Defendant SYBRA, INC. DBA Arby’s (hereinafter “Arby’s”) operates and owns a fast

         food restaurant located at 4325 W Pierson Road, Flint, MI 48504 in Genesee County.

         Plaintiff has patronized Defendant’s business and its facilities previously as a place of

         public accommodation and experienced the barriers to access complained of herein.

6.       Upon information and belief, the facility owned and operated by Arby’s is non-compliant

         with the remedial provisions of the ADA. As Defendant owns, leases, leases to, or

         operates a place of public accommodation as defined by the ADA and the regulations

         implementing the ADA, 28 CFR 36.201(a) and 36.104, Defendant is responsible for
     Case 2:15-cv-13338-AJT-MJH ECF No. 1 filed 09/22/15                 PageID.3     Page 3 of 9



         complying with the obligations of the ADA. Defendant’s facility as a fast food restaurant

         constitutes a place of public accommodation, which fails to comply with the ADA and its

         regulations, as also described further herein.

7.       Mr. Miles is paraplegic and uses a wheelchair for mobility. As such, he is substantially

         limited in performing one or more major life activities, including but not limited to,

         standing and walking, as defined by the ADA and its regulations thereto.

8.       Mr. Miles is Defendant’s customer and plans to return to the property that forms the basis

         of this lawsuit to avail himself of the goods and services offered to the public at the

         property. Plaintiff frequently visits Flint, Michigan and the surrounding area, including

         Genesee County, Michigan, for golf trips and family vacations several times annually.

         Plaintiff has personally experienced the barriers to access complained of herein and been

         endangered by Defendant’s failure to comply with the ADA and its regulations.

9.       Completely independent of the personal desire to have access to this place of public

         accommodation free of illegal barriers to access, Plaintiff also acts as a "tester" for the

         purpose of discovering, encountering, and engaging discrimination against the disabled in

         public accommodations. When acting as a "tester," Plaintiff employs a routine practice.

         Plaintiff personally visits the public accommodation; engages all of the barriers to access,

         or at least all of those that Plaintiff is able to access; and tests all of those barriers to

         access to determine whether and the extent to which they are illegal barriers to access;

         proceeds with legal action to enjoin such discrimination; and subsequently returns to the

         premises to verify its compliance or non-compliance with the ADA and to otherwise use

         the public accommodation as members of the able-bodied community are able to do.

         Independent of other visits, Plaintiff also intends to visit the premises annually to verify
  Case 2:15-cv-13338-AJT-MJH ECF No. 1 filed 09/22/15                 PageID.4      Page 4 of 9



      its compliance or non-compliance with the ADA, and its maintenance of the accessible

      features of the premises. In this instance, Plaintiff, in Plaintiff’s individual capacity and

      as a “tester,” visited the Facility, encountered barriers to access at the Facility, and

      engaged and tested those barriers, suffered legal harm and legal injury, and will continue

      to suffer such harm and injury as a result of the illegal barriers to access and the ADA

      violations set forth herein.

10.   Plaintiff has a realistic, credible, existing and continuing threat of discrimination from the

      Defendant’s non-compliance with the ADA with respect to this property as described but

      not necessarily limited to the allegations contained in this complaint.         Plaintiff has

      reasonable grounds to believe that he will continue to be subjected to discrimination in

      violation of the ADA by the Defendant. Plaintiff desires to visit the Defendant’s place of

      business again on future occasions, not only to avail himself of the goods and services

      available at the property but to assure himself that this property is in compliance with the

      ADA so that he and others similarly situated will have full and equal enjoyment of the

      hotel and its amenities without fear of discrimination.

11.   The Defendant has discriminated against the individual Plaintiff by denying him access to

      the full and equal enjoyment of the goods, services, facilities, privileges, advantages

      and/or accommodations of the buildings, as prohibited by 42 U.S.C. § 12182 et seq.

12.   The Defendant has discriminated, and is continuing to discriminate, against the Plaintiff

      in violation of the ADA by failing to, inter alia, have accessible facilities by January 26,

      1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts of

      $500,000 or less).

13.   A preliminary inspection of the facility owned by Arby’s has shown that many violations
 Case 2:15-cv-13338-AJT-MJH ECF No. 1 filed 09/22/15                PageID.5     Page 5 of 9



      of the ADA exist. These violations include, but are not limited to:

 Parking Lot Access:

      A.     The designated handicap accessible parking spaces lack or have insufficient
             adjacent access aisles, in violation of the ADA whose remedy is readily
             achievable.

      B.     Defendant’s facilities fail to provide sufficient or any designated van accessible
             parking spaces with required access aisles for handicapped persons, where at least
             one is required by law, in violation of the ADA whose remedy is readily
             achievable.

       C.    Parking spaces and access aisles (if any) are located on ground with excessive
             slopes and cross slopes, in violation of the ADA whose remedy is readily
             achievable.

       D.    Defendant’s parking lot fails to properly mark and/or designate the handicap
             accessible parking spaces, in violation of the ADA whose remedy is readily
             achievable.

      E.     The parking lot provides an excessive slope for safe use by Defendant’s
             handicapped patrons, in violation of the ADA whose remedy is readily
             achievable.

Public Restroom Access:

       F.    Defendant’s unisex, public restroom has exposed pipes at the lavatory that are not
             insulated to protect for scalding of Defendant’s handicapped patrons, in violation
             of the ADA, whose remedy is readily achievable.

       G.    Defendant’s unisex, public restroom fails to provide a toilet seat with sufficient
             height above the finished floor, in violation of the ADA whose remedy is readily
             achievable.

       H.    The Defendant’s public restroom contains several amenities that are mounted in
             excess of allowable range in violation of the ADA, whose remedy is readily
             achievable.

      I.     Defendant’s unisex, public restroom fails to properly identify itself with
             appropriate handicap accessibility, including but not limited to tactile, braille
             markings for use by Defendant’s handicapped patrons, in violation of the ADA
             whose remedy is readily achievable.

Outdoor Seating:
  Case 2:15-cv-13338-AJT-MJH ECF No. 1 filed 09/22/15                    PageID.6   Page 6 of 9



       J.     Defendant’s outdoor seating provides several tables for access by its patrons, but
              this seating fails to provide for any accessible routes or handicap accessible
              seating for its handicapped patrons, in violation of the ADA whose remedy is
              readily achievable.

Policies and Procedures

       K.     The operator lacks or has inadequate defined policies and procedures for the
              assistance of disabled patrons.

14.    The discriminatory violations described in Paragraph 13 by Arby’s are not an exclusive

       list of the Defendant’s ADA violations.         Plaintiff requires further inspection of the

       Defendant’s place of public accommodation in order to photograph and measure all of

       the discriminatory acts violating the ADA and all of the barriers to access. The Plaintiff,

       has been denied access to Defendant’s accommodations; benefit of services; activities;

       and has otherwise been discriminated against and damaged by the Defendant, as set forth

       above. The individual Plaintiff, and all others similarly situated will continue to suffer

       such discrimination, injury and damage without the immediate relief provided by the

       ADA as requested herein. In order to remedy this discriminatory situation, the Plaintiff

       requires an inspection of the Defendant’s place of public accommodation in order to

       determine all of the areas of non-compliance with the Americans with Disabilities Act.

                                COUNT I
             VIOLATION OF THE AMERICANS WITH DISABILITES ACT

15.    Plaintiff restates the allegations of ¶¶1-14 as if fully rewritten here.

16.     The facility at issue, as owned by Arby’s, is a public accommodation and service

        establishment, and as such, must be, but is not, in compliance with the Americans with

        Disabilities Act ("ADA") or Americans with Disabilities Act Accessibility Guidelines

        ("ADAAG").

17.     Plaintiff was unlawfully denied full and equal enjoyment of the goods, services, facilities,
  Case 2:15-cv-13338-AJT-MJH ECF No. 1 filed 09/22/15                     PageID.7   Page 7 of 9



       privileges, and advantages of the property on the basis of disability due to Defendant’s

       failure to comply with Title III of the Americans with Disabilities Act and its

       accompanying regulations, as prohibited by 42 U.S.C. § 12182, et seq. Defendant will

       continue to discriminate against Plaintiff and others with disabilities unless and until

       Defendant is compelled to remove all physical barriers that exist at the facility, including

       those specifically set forth herein, and make the facility accessible to and usable by

       persons with disabilities, including Plaintiff.

18.   The Plaintiff, and others similarly-situated, is presently without adequate remedy at law

       and is damaged by irreparable harm.           Plaintiff reasonably anticipates that he will

      continue to suffer irreparable harm unless and until Defendant is required to remove the

      physical barriers, dangerous conditions, and ADA violations that exist at the Facility,

      including those set forth herein.

19.   Pursuant to 42 U.S.C. §12187, Plaintiff requests that the Court issue an injunction

      requiring Defendant to make such readily achievable alterations as are legally required to

      provide full and equal enjoyment of the goods, services, facilities, privileges, and

      advantages on its property to disabled persons. In connection with that relief, Plaintiff

      requests reasonable attorney’s fees and costs of maintaining this action.

                             COUNT II
 VIOLATION OF MICHIGAN PERSONS WITH DISABILITIES CIVIL RIGHTS ACT
                        M.C.L. § 37.1301 et seq.

20.   Plaintiff restates the allegations of ¶¶1 - 1 9 as if fully rewritten here.

21.   Arby’s constitutes a a "place[s] of public accommodation" pursuant to M.C.L §37.1301(a).

22.   Defendant committed an unlawful act pursuant to M.C.L §37.1302(a) by denying Plaintiff

      the full enjoyment of its goods, services, accommodations, advantages, facilities, or
  Case 2:15-cv-13338-AJT-MJH ECF No. 1 filed 09/22/15                 PageID.8       Page 8 of 9



      privileges.

23.   Pursuant to M.C.L §37.1606, Plaintiff is entitled to compensatory and punitive damages,

      and attorneys fees and costs, in an amount to be determined at trial, but in any event not

      less than $25,000.00, as well as issuance of an injunction requiring Defendant to allow

      full and equal enjoyment of its goods, services, facilities, privileges, and advantages to

      disabled persons.

WHEREFORE, Plaintiff demands,

      For COUNT I, an injunction requiring Defendant to make all readily achievable

      alterations and institute policies and procedures to allow full and equal enjoyment of the

      goods, services, facilities, privileges, and advantages to disabled persons, and the

      reasonable attorneys fees and costs of maintaining this action; and,



      For COUNT II, compensatory and exemplary damages, attorneys fees and costs, in an

      amount to be determined at trial, but in any event not less than $25,000.00, as well as

      issuance of an injunction requiring Defendant to allow full and equal enjoyment of the

      goods, services, facilities, privileges, and advantages to disabled persons.



                                            Respectfully Submitted,

                                            Counsel for Plaintiff:

                                            /s/ Owen B Dunn Jr.
                                            Owen B. Dunn, Jr., Esq. (P66315)
                                            Law Office of Owen B. Dunn, Jr.
                                            The Ottawa Hills Shopping Center
                                            4334 W. Central Ave., Suite 222
                                            Toledo, OH 43615
                                            (419) 241-9661 – Phone
                                            (419) 241-9737 - Facsimile
Case 2:15-cv-13338-AJT-MJH ECF No. 1 filed 09/22/15    PageID.9    Page 9 of 9



                                 dunnlawoffice@sbcglobal.net


                                 /s/ Matthew B. Bryant
                                 Matthew B. Bryant (0085991)
                                 BRYANT LEGAL, LLC
                                 6600 W. Sylvania Ave., Suite 260
                                 Sylvania, OH 43560
                                 Phone: (419) 340-3883
                                 Email: mbryant@bryantlegalllc.com
                                 *Admitted to practice in the Eastern District of
                                 Michigan
